      CASE 0:11-cr-00228-MJD-JJK      Doc. 430   Filed 02/07/13   Page 1 of 2




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA

United States of America,

      Plaintiff,
v.                                                 ORDER
                                                   Crim. No. 11‐228(03) (MJD/JJK)
Patrick Joseph Kiley,

      Defendant.
___________________________________________________________________

      David J. MacLaughlin and Tracy L. Perzel, Assistant United States
Attorneys, Counsel for Plaintiff.

      John W. Lundquist and Kevin C. Riach, Fredrikson & Byron, P.A., Counsel
for Defendant Patrick Joseph Kiley.
___________________________________________________________________

      This matter is before the Court on the government’s motion for

reconsideration of the appointment of defense‐recommended psychologist, Dr.

Peter Marston. (Doc. No. 417). In response to this motion, the Court requested

information from the U.S. Probation Office concerning the psychologist with

whom that office has entered into a contract for services, Dr. David Brings. The

Court has reviewed Dr. Brings’ curriculum vitae, his rates and availability. Based

on that review, the Court has determined that Dr. Brings is qualified to conduct

the requisite psychological examination that will assist the Court in sentencing


                                         1
        CASE 0:11-cr-00228-MJD-JJK    Doc. 430    Filed 02/07/13   Page 2 of 2




the Defendant, his rates are substantially lower than those charged by Dr.

Marston, and Dr. Brings is available immediately.

        IT IS HEREBY ORDERED that the government’s motion for

reconsideration [Doc. No. 417] is GRANTED. The Order dated January 18, 2013

[Doc. No. 413] is hereby amended as follows: Dr. David Brings shall replace Dr.

Peter Marston to conduct a psychological examination of the Defendant.

Accordingly, Dr. Brings shall submit a report to the Court within sixty days of

the date of this Order, and shall specifically address the Defendant’s anxiety,

depression and his inability to communicate and any other information that will

assist the Court in assessing the Defendant’s psychological state, and the types of

treatments necessary to alleviate any psychological conditions.

Date:    February 7, 2013




                                      s/ Michael J. Davis
                                      Michael J. Davis
                                      Chief Judge
                                      United States District Court




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